
The People of the State of New York, Respondent,
againstMiguel C., Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Beth Beller, J.), rendered December 7, 2017, convicting him, upon a plea of guilty, of sexual misconduct, and sentencing him to six years' probation.




Per Curiam.
Judgment of conviction (Beth Beller, J.), rendered December 7, 2017, affirmed. 
Defendant seeks an "interest of justice" reduction in the probationary period imposed in accordance with his plea agreement. "Ordinarily... where defendant effects a plea bargain and receives the precise sentence that was promised, he should not later be heard to complain that he received what he bargained for" (People v Fair, 33 AD3d 558 [2006], lv denied 8 NY3d 945 [2007], quoting People v Chambers, 123 AD2d 270, 270 [1986]). Given the serious nature of the charged conduct and the absence of extraordinary circumstances, it cannot be said that the probationary sentence was either harsh or excessive (see People v Higgins, 19 AD3d 877 [2005], lv denied 5 NY3d 828 [2005]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.I concur I concur I concur
Decision Date: April 17, 2019










